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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                    CASE NO. 8:08-CR-240-T-17-TBM


JAMES ROBERTSON
                                        /

                                             ORDER

        This cause comes before the Court on the defendant’s motion for transfer to Coleman
Federal Correctional Institution pending trial (Docket No. 30). The Court does not the authority
to direct the placement of the defendant by the Marshal’s service. The Marshal and the Bureau
of Prisons have that authority. Accordingly, it is.


        ORDERED that the defendant’s motion for transfer to Coleman Federal Correctional
Institution pending trial (Docket No. 30) be denied for lack of jurisdiction. But the Court
strongly recommends that the Marshal’s service consider complying with the defendant’s request
for other placement pending trial.


        DONE AND ORDERED in Chambers in Tampa, Florida this 17th day of December,
2008.




Copies furnished to: All Counsel of Record
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